Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 1 of 22




                              UN ITED STATES D ISTR ICT CO U RT
                                                                                  '


                             SOUTHERNj
                                     DIS7
                                        TRIC-TOF R J
                                                   r1                             .'      :   ...,.
                                                                                      '

                         CA SE N O .
                                                                                                '
                                                                                                      0LA /Topdtk'
                                                                                                                 b
                                        18U.S.C.j371
                                        18U.S.C.jj1343,1346
                                        18U.S.C.j1503
                                        18U.S.C.j2
   UNITED STA TES O F AM ERICA,



   I1lCHRISTOPHER V.CICCIONE,lI,
   I21JOSE BAYRON PIEDM HITA-CEBALLOS,a/k/a Hcacheton,''a/lt/aiiM ontanero,''
   I31JUAN CARLOS VELASCO CANO,a/k/a iicabezon,''
                         Defendants.


                                           IN DICTM EN T

          The Grand Jury chargesthat:

                                   G ENER AL ALLEGA TIO N S

          AtalItimes relevantto this Indictm ent'
                                                .

                                D epartm entofH om eland Securitv

          TheUnitedStatesDepartmentofHomelandSecurity(DHS)isafederalagencyunderthe
   Executive Branch of the United States governm ent. DH S is charged w ith adm inistering and

   enforcing various federallaws,including narcoticstrafficking,bordersecurity,im m igration,and

   custom s.

          United StatesImmigrationand CustomsEnforcement(lCE)isan investigativeagency
   w ithin DH S. ICE enforcesfederallaw sgoverning bordercontrol,custom s,trade,and im m igration

   to prom ote hom eland security and public safety.
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 2 of 22




          HomelandSecuritylnvestigations(HSl)isasub-agencywithinlCE anditsagentsare
   responsible for investigating various federalcrim es,including,butnot Iim ited to,im m igration,

   narcotics,and financialcrim es.

                                           The Defendants

   4.     Atalltimesrelevanttothislndictment,Defendantg11CHRISTOPHER V.CICCIONE,Il,
   was an HSI SpecialA gent and a federal law enforcem ent officer w orking in M iam i, Florida.

   CICCION E began hisfederalservice in 2001w ith the United StatesCustom sService,w hich w as

   eventually absorbed into DH S.

   5.     A san HSlSpecialA gent,CICCION E had the authority to investigate violationsoffederal

   law,including,butnotlim ited to,im m igration,narcotics,and financialcrim es. In thisprofessional

   capacity,CICCION E also had unique accessto,and relationshipsw ith,otherfederalofficialsand

   their offices, including the United States D epartm ent of State, the Drug Enforcem ent

   Administration(DEA),andotherdivisionswithinDHS.
   6.     Part of CICCION E'S responsibilities in M iam i included developing and handling

   confidentialhum an sourcesofinform ation.

          A sa federal1aw enforcem entofficer,CICCION E owed a fiduciary duty to the United

   States and its citizensto perfonn the duties and responsibilities of hisposition honestly and free

   from corruptintluence.

   8.     Defendant(21JOSE BAYRON PIEDRAHITA CEBALLOSisaColombiannationalwho
   w as indicted on June 20, 1996 in the Southern D istrict of Florida in a Fourth Superseding

   IndictmentinthecaseoftheUnitedstatesofAmericav.BlasAntonioGonzalez,et.aI.(Indictment
   #93-470). The Indictment charged PIEDRAHITA with participating in the Cali Cartel's
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 3 of 22




   internationaldrug trafficking racketeering enterprise. lndictm ent#93-470 wasprosecuted by the

   United StatesAttorney's Office forthe Southern DistrictofFlorida.

   9.     Based on lndictment#93-470,an arrestwarrantwas issued forPIEDRAH ITA ;how ever,

   PIED RAH ITA rem ained a fugitive on these charges from the tim e he w as indicted on June 20,

   1996,through October21,20ll,w hen Indictm ent#93-470 w asdism issed.

   10. Defendant(31JUAN CARLOSVELASCO isaColombiannationalwhoisanassociateof
   PIED RA HITA and form er H Sl confidential source. CICCION E developed and handled

   V ELA SCO asa confidentialsource.

                                        O peration Cornerstone

          Indictm ent#93-470 w asone ofseveralindictm entsresulting from tûo peration

   Cornerstone,''ajointinvestigationinitiatedin 1991bytheUnitedStatesCustomsServiceandthe
   D EA into the crim inal activities of the Cali Cartel, including, am ong other allegations, the

   im portation ofm ulti-ton am ountsofcocaine into the United States. The indictm entsalleged that

   the CaliCartelw as a racketeering enterprise thatused a defined hierarchy of Ieaders,attorneys,

   m anagers,and operators,and paid frequent,regularbribes to a numberofpoliticians and m ilitary

   and police officials in Colom bia.

   12.    A series of HSIand D EA SpecialA gents investigated O peration Cornerstone from 1991,

   to 20l1,and the United States Attorney's Office forthe Southern Districtof Florida prosecuted

   the case.
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 4 of 22




                                            CO UNT O NE
         Conspiracy to D efraud the U nited States,to Com m itH onestServices Fraud,and to
                                           O bstructJustice
                             (Title 18,United StatesCode,Section 371)

   l3.     Paragraphs 1through 12 oftheG eneralA llegationssection ofthisIndictm entarere-alleged

   and incorporated asthough fully setforth herein.

   14.     Beginning atIeastas early asin and around February 24,2010,the exactdate being

   unknow n to the Grand Jury,and continuing through on or about October 28,2011,w ithin the

   Southern D istrictofFlorida and elsew here,the defendants,

                          I11CHRISTOPHER V.CICCIONE,Il,
                          I21JOSE BAYRON PIEDRAHITA-CEBALLOS,a/k/a iicacheton,''
                         a/k/a RM ontanero,''
                          I31JUAN CARLOS VELASCO CANO,a/k/aiicabezon,''
   did know ingly and w illfully com bine,conspire,confederate,and agree w ith each otherand other

   people,both know n and unknown to the Grand Jury,to:

           (l)defraud the United Statesofthehonestand faithfulservicesofCICCIONE and to
               interfere w ith its lawfulgovernm entalfunctionsby deceit,craft,and trickery;and

           (2)commitoffensesagainsttheUnitedStatesspecifically,
                  To know ingly devise and intend to devise a schem e and artifice to defraud and

   deprive the citizens ofthe United States oftheirrightto the honestservices ofa public official;

   thatis,to deprive the citizensofthe United Statesofthe honestservicesofCICCION E,a federal

   law enforcem entofficerw ith H SI,through bribery,in violation ofTitle l8,United States Code,

   Sections 1343,and 1346;and

                  To corruptly intluence,obstruct,and im pede and endeavorto intluence,obstruct,

   and impedethedueadministrationofjusticein United Statesv.BlasAntonio Gonzalez,et.al.,
   Indictm ent#93-470,in the United States D istrict Courtfor the Southern D istrictof Florida,by
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 5 of 22




   using a seriesofm aterially false statements,representations,and om issionsaboutthe investigation

   to persuade and attem ptto persuadethe United StatesA ttorney's Officeto dism issthe indictm ent,

   in violation ofTitle l8,United States Code,Section 1503.

                                     Purpose ofthe Conspiracv

          The purpose oftheconspiracy wasforthedefendantsto use CICCION E'S officialposition

   to cause Indictm ent#93-470 againstPIED RA H ITA to be dism issed and to benefitand enrich each

   otherthrough bribery.

                                slanner& sleansofthe C onspiracv

   l6.    The m annerand m eansthrough w hich the defendantscarried outthe conspiracy included,

   butwere notlim ited to,the follow ing:

          (a)     PIEDRAHITA and VELASCO offered and gave,and CICCIONE solicited and
   accepted,thingsofvalue,that is,am ong other things,cash;an expensive m ealata restaurantin

   Bogota,Colom bia;aparty ata M arriotthotelin Bogota,Colom bia;liquor;and prepaid prostitutes.

          (b)    CICCIONE,in his officialposition asan HSISpecialAgent,falsified official
   records and lied to his supervisors and the United States Attorney's O ffice to cause Indictm ent

   #93-470 to be dism issed against PIEDRAH ITA , and to obtain official authorization for

   PIEDRAH ITA to enterinto the United States.

   l7.    VELASCO served asan interm ediary betw een PIEDRA H ITA and CICCIONE,arranged

   for a meeting in Bogota, Colom bia,received confidential inform ation from CICCION E about

   him selfand others,and facilitated com m unication am ong m em bersofthe conspiracy.

   18.    PIEDRAH ITA used his personal assistants,              and I.M ., to com m unicate with

   CICCION E,booked and paid forroom satthe M arriotthotelin Bogota from Decem ber6,through

   Decem ber9,2010,and obtained the servicesofprostitutes forCICCION E'S benefit.
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 6 of 22




   I9.    CICCIO N E used his officialposition asan H SlSpecialA gentto intluence and attem ptto

   intluence officialsw ithin the United States Departm entofState to grantPIED RA HITA a visa to

   enter the United States by falsely stating that PIED RA HITA'S indictm entw as being dism issed

   based on hiscooperation,because he wasisneverfully identified,''and because itno arrestw arrant

   waseverissued....''

   20.    CICCION E used hisofficialposition as an HSlSpecialA gentto intluence and attem ptto

   intluence officials atDHS to obtain a ttsignificantPublic BenefitParole''forPIED RAH ITA and

   his fam ily to tem porarily enterthe United States by falsely claim ing that PIEDRA H ITA had no

   criminalrecordand6dlnlorecordsofcriminalactivitywerelocatedinanydatabases.''
          CICCION E caused and attem pted to cause the dism issal of crim inal charges against

   PIED RA HITA in Indictm ent#93-470 by:

                 i.      falsely altering DHS records in the EûTECS'' system to show that

          PIEDRA H ITA wasa iiprevioussuspect''ofa ùûclosed case''ratherthan an indicted fugitive,

          falsely w riting that the indictm ent w as iibeing dism issed'' based on PIEDRAH ITA 'S

          cooperation,and altering the record'sldprim ary''code designation;

                         drafting and sending a m em orandum to his supea isorscontaining material

          m isrepresentations and false statem ents about PIED RA HITA , including representations

          that PIEDRA HITA w as i'never positively identified,'' an arrest warrant had not been

          issued,and iûlalllinvestigative leads and attempts to identify''PIEDRAHITA were
          tsexhausted''and itwas Eûunlikely''thathe w ould Eteverbe positively identified''5
                                                                                           'and

                 iii.    corruptly intluencing prosecutors in the United StatesAttorney's

          Office forthe Southern DistrictofFlorida to dism issIndictm ent#93-470 by presenting the

          false m em orandum to the United States Atlorney's O ffice for the Southern D istrict of
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 7 of 22




          Florida, repeatedly requesting dism issal based on m aterial m isrepresentations, false

          statem ents,and om issions,and falsely stating thatother case agents concurred with his

          recom m endation to dism iss.

                                            O vertActs

          In furtherance ofthe conspiracy and to achieve itsobjects,defendantsperformed the
   following overtacts,am ong others:

   22.    On oraboutFebruary 24,2010,CICCION E em ailed A ssistantUnited StatesAttorney B.K.,

   w ith the United States Attorney's O ffice for the Eastern District of N ew York. CICCION E

   inform ed B.K .that,w ith theapprovalofAssistantUnited StatesAttorney E.M .,CICCION E w ould

   seek dism issalofPIED RA HITA 'S indictm ent.B.K .responded thatPIEDRA HITA 'S cooperation

   did nothave iEany realvalue.'' CICCION E om itted Southern DistrictofFlorida A ssistantUnited

   StatesAttorney E.M .from hise-m ail.

          On oraboutJuly l6,2010,VELA SCO inform ed PIEDRA H ITA thathe spoke to

   CICCION E Sslastnight''to ask aboutitthe thing w ith m y friend''and CICC ION E replied thathe

   bialready asked''and ûswe can't go around asking Iike thatbecause they'llbe w ondering,Sw hat's

   going on'
           ?'Butitw illcom ethrough,brother.Itwillcom ethrough.A nd you'llbethe firstto know .''

   24.    On oraboutAugust11,2010,V ELASCO inform ed PIEDRA HITA thatCICCION E called

   thatmorning and said thatiithey had been review ing''PIEDRA H ITA 'Siûthing forseven w eeks,''

   and thatthey would callto confirm . During thatsam e call,VELA SCO told PIEDRAH ITA that

   CICCION E iiseem ed bum m ed''because H Sl Confidential Source SA -2771-M l ûdis one ofthose

   guys who gets paid forinform ation''and iûapparently he's notgoing to getany m ore inform ation

   from the m an.''
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 8 of 22




   25.    On or about Septem ber 22,2010,C ICCION E altered PIEDRAH ITA 'S TECS database

   record to falsely reportthatPIEDRA HITA w asa form er suspectofa closed investigation,rather

   than the subject of a current operation. CICCIONE added in the narrative section that
   PIEDRAHITA'Scasewouldbedismissedbecauseitwasûlpreextraditionandthesubjecthasand
   continuesto cooperate.''

   26.    O n oraboutOctober 21,2010,VELA SCO inform ed PIEDRAH ITA ,$ûHe tells m e that-

   thatonce he'sdone doing thisfavorform e...he'sgoing to W ashington...hetold m e,ithank god I

   can do something fOr you tw o.''' VELA SCO continued,isYou should see w hatkind of m an he

   is...lm ean,he introduced m e to his fam ily.'' PIED RA HITA responded,iûl)o you think thatcan

   bereadybyNovember?''VELASCO stated,$$Hetellsmeûthere'saIotofjealousyandtheymight
   go screw you guys...you guys have to be sm art'because it's notgood forhim or forus either.''

   V ELA SCO Iatercom m ented,tcl-hism an isvery advantageous form e,dude.''

          On oraboutNovem ber l,2010,VELA SCO told PIEDRA HITA thathe spoke to

   CICCION E and HSIConfidentialSource SA-222-M lw asûûnam ing nam es.''

   28.    On oraboutN ovem ber24,2010,V ELASCO told PIEDRAH ITA thati$lneed you to send

   m e a copy of your passport right now ...'' CICCION E isand his boss are going to the State

   D epartm ent to authorize your thing. The visa and everything right away.'' Later in the

   conversation,VELA SCO provided PIEDRAH ITA w ith CICCION E'Sgovernm ente-m ailaddress.

   PIED RA HITA stated that he would have iiA strid''send a copy of his passportto CICCION E.

   V ELA SCO told PIEDRA H ITA thatCICCION E was going to be transferred butw anted to help

   PIEDRA HITA w ith hisûûstatus''and wasttfearful''becausethere aretoo m any çlfrogs.''VELA SCO

   also told PIEDRA H ITA,EûRem em ber,w e w illbe there from the 6th to the 9th.'' PIEDRA HITA

   responded,$$Ok,atthe M arriott.'' VELA SCO stated,iûl-le already has a reservation there...from

                                                  8
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 9 of 22




   the 6th to the 9th.'' VELA SCO also rem inded PIEDRA H ITA ,((W e have to pay w ith another

   Currency.55

   29.    On oraboutN ovem ber24,2010,PIEDRAH ITA 'S assistant,A.G .,e-m ailed CICCION E a

   photocopy of PIEDRA H ITA 'S passport. The copy of PIEDRAH ITA 'S passport included

   PIEDRA HITA 'S full nam e,birth date,place of birth, and passport num ber. PIEDRAH ITA 'S

   passport also listed its issuance date as ésFebruary 8, 2008,'' in ûsM edellin'' and included a

   photograph ofPIEDRA HITA 'Sface.

   30.    On or about Novem ber 26, 2010, PIEDRA H ITA told V ELA SCO that everything was

   ûiarranged''forthe 6th and thattherew ere ûûthree divinew om en who are going to bethere w ith us.''

   PIEDRA HITA stated that he ûspicked the best,'' and ûdthey sent them through a catalog.''

   PIEDRAH ITA also asked V ELASCO , ûûchris already has m y paper?'' V ELA SCO inform ed

   PIEDRAH ITA thatthe tffriend''is going w ith his bosses to take PIEDRA H ITA 'S ispaper to get

   approved.''VELA SCO inform ed PIEDRA HITA thatiûhetellsm e''thatheneeded PIEDRAH ITA 'S

   Passportbecause tfthey aregoing to go to W ashington.''

   31.    On oraboutDecem ber6,2010,PIEDRA HITA told V ELA SCO,id-l-ellChris I'm finishing

   up coordinating everything.Ok? Forthe dealtom orrow .Thatl'm here finishing up coordinating

   everything.O k?'' PIEDRAH ITA also told VELA SCO,is-f'
                                                        he pre-paid onesare com ing later''and

   Chrisiûcan m ake a requestlater.'' V ELA SCO told PIEDRAH ITA thatSsthere is one m ore friend''

   so they needed to étspeak differently.''

   32.    On oraboutDecem ber6,2010,CICCION E and HSlSpecialAgentA.A .traveled to

   Bogota,Colom bia. CICCION E and A.A .m etw ith VELA SCO,PIED RA H ITA and othersatthe

   M arriott Hotel in Bogota, Colom bia. The party and lodging for guests were paid by
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 10 of 22




   PIED RAH ITA . Duringtheparty,CICCION E consum ed alcoholicdrinksand had sexualrelations

   w ith a prostitute,w hich w erepaid forby PIEDRA H ITA .

   33.    O n oraboutDecem ber7,2010,CICCIONE and A.A .attended dinnerata private room in

   Pesquera Jaram illo, an upscale restaurant in Bogota, Colom bia. Dinner attendees included

   PIED RAH ITA ,V ELA SCO ,a Colom bian Arm y Colonel,aw ell-known Colom bia pop m usicstar,

   and severalfem ales. PIEDRAH ITA paid forthedinner.

   34.    D uring this trip,CICC ION E received a cash bribe from PIEDRAH ITA and VELASCO .

   In the nine m onths follow ing his Decem ber 9,2010 trip to Bogota, CICCION E deposited,or

   caused to bedeposited,$17,700incash and spent$10,166.80 incash.ln theoneyearperiodprior
   to December9,2010,CICCIONE had onlydeposited $50in cash.
   35.    In addition to the cash deposits,CICCION E made severalcash paym ents follow ing the

   Bogotatrip. On Decemberl6,20l0,CICCIONE m ade a$2,000 paymenttoward the balanceof

   hisChase creditcard.

   36.    OnJune 29,201l,CICCIONE paid $1,077.22 incash foraU-l-laulrental.
   37.    OnJuly30,20l1,CICCIONE paid $5,000in cash asadown-paymentforanew 20llJeep

   W rangler.

   38.    OnAugust1,20l1,CICCIONE paid $1,189.58in cashforaU-llaulrental.
   39.    On oraboutFebruary 8,20l1,CICC ION E drafted and em ailed a m em orandum to G roup

   SupervisorR.R.(R.R.)requesting dismissalofindividualsfrom lndictment#93-470,including
   PIEDRAHITA (DismissalMemo). CICCIONE drafted theDismissalMemo and falsely stated
   thattsgalttemptsto identify''PIEDRAHITA iifailedtopositivelyidentify''him,andasaresult,he
   wasidneverpositively identified''and isan-estw arrantswereneverissued.''CICCION E'SD ism issal

   Memo also statedthatûûlalllinvestigativeleadsand attemptsto identify''PIEDRAHITA iûhave

                                                 10
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 11 of 22




   been exhausted''and5since tûno new inform ation has been developed''ûdduring''the tttim e-frame''

   ofthe lastfifteen years,itisisunlikely that''PIEDRAH ITA iiwilleverbe positively identified.''

   40.    On oraboutFebruary 17,2011,R.R.instructed CICCION E thatthe D ism issalM em o m ust

   statew hetherthe dism issalisbased on cooperation.

          On oraboutFebruary l8,2011,R.R.told CICCION E thathe could notstate in the

   Dism issalM em o thata defendantwas unidentified ifhe w as ttconvicted elsewhere,'':'a source,''

   or tdlisted''in another ûdcase,but fully identified.'' R.R.further instructed CICCION E to ettriple

   check'' all of the nam es in the mem orandum in EETECS, NA DD IS, NC IC, STA TE, IN S,

   TRAVEL,''which are allconfidentiallaw enforcementdatabases.

          CICC ION E did notrem ove PIEDRA H ITA 'S nam e from the D ism issalM em o,nordid he

   editthe docum entto indicate thatPIED RA HITA was,in fact,identified. O n oraboutM arch l6,

   20l1,w hen CICC ION E w as serving as acting Group Supervisor in R.R.'S absence,he sentthe

   Dism issalM em o to the H SIAssistantSpecialAgentin Charge for M iam i,Florida for approval

   w ithoutmaking the changesasinstructed by R.R .The Dism issalM em o wassigned by the Special

   Agentin Charge and sentto the United StatesAttorney forthe Southern D istrictofFlorida.

           On oraboutJune l6,20ll,PIEDRAH ITA 'Sassociate,I.M .,e-m ailed CICCION E copies

   ofpassportsbelonging to PIED RAH ITA and PIEDRAH ITA 'Swife.

   44. OnoraboutJune20,2011,CICCIONE sentane-mailwiththesubjectline,idoperation
   Cornerstone,''to A ssistant United States Attorney F.T. In the e-m ail,CICCION E requested a

   status on the dism issalof the defendants from The Operation Cornerstone Indictment#93-470.

   CICCION E falsely advised F.T.thathis DEA counterparq SpecialAgent D .H.,concurred,and

   thatthe originalICE caseagent,E.K.,ûdstated thathew asneverableto fully identify the individuals

    indicted,''and thatno arrestw arrantswere issued.
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 12 of 22




   45.    On oraboutJune21,20l1,AssistantU nited StatesAttorney F.T.responded to CICCION E.

   F.T.inform ed CICCION E thatF.T.w as tknotfam iliarw ith any requests fordism issalsubm itted

   any time recently,''but thatif CICC ION E could provide defendant's nam es and case num bers,

   F.T.could check the status. O n the sam e day,CICCION E responded,attaching the M arch 21,

   20llDismissalMemoand falsely reiteratingthat:(1)noneofthe individualsinthememo had
   arrestwarrants,(2)theoriginalcaseagentwasnotabletoidentifytheindividualsduringthecourse
   oftheinvestigation,and(3)noonecouldobtainprobablecausetoidsupersedeanotherindictment.''
   F.T.agreed to forward the case through hischain ofcom m and atthe U .S.A ttorney'sOffice.

   46.    O n oraboutJune 24,20ll,CICCION E forwarded l.M .'se-m ailcontaining

   PIEDRAH ITA 'Spassportto HSISpecialAgentE.E. A lso on oraboutJune 24,20ll,CICCIONE

   sentE.E.a com pleted package fora SignificantPublic BenefitParole forPIED RAH ITA and his

   familyforprocessingby E.E.Theformsfalselystatedthat(l)theywerepreparedbyE.E.and(2)
   no recordsofcrim inalactivity were located in any databasesforPIEDRAH ITA .

   47.    O n oraboutAugust l6,201l,E.E.em ailed HSlSpecialAgentN .E.ofthe Law

   Enforcem entParole UnitthatElPaso Intelligence Centerdatabase record checks confirm ed that

   PIED RAH ITA had an ''open and active case in Colom bia.'' E.E.w rote thatalthough DEA listed

   PIEDRAH ITA as a fugitive no warrantswere everobtained forhim . E.E.told N .E.thatSpecial

   Agent E.K .stated that individuals like PIEDRAH ITA fdheld insignificant lower levelpositions

   w ithin the organization or that he was not able to fully identify.'' E.E. received this false

   infonnation sentto N .E.from CICCION E.

    48. O n oraboutA ugust l7,20l1,CICCION E conducted a law enforcem entdatabase query

   forPIEDRAHITA ,which returned the follow ing results in the follow ing databases:
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 13 of 22




                 NADDIS(NarcoticsandDangerousDruglnformationSystem):tkRecordindicates
   thatthesubjectisARM ED AND DANGEROUS andthatheisalsoaFUGITIVE''
          b.     TECS:EûA LLEG ED COCA IN E SU PPLIER''

                 EPIC (ElPasolntelligenceCenter):indicatedthatPIEDRAHITA hadbeenqueried
   aspartofm ultiple drug investigations.

   49.    On oraboutSeptem ber30,20ll,HSISpecialAgentP.H .,the Section chiefofthe Law

   Enforcem ent Parole Unit, inform ed HSI Special A gent N .E.that D EA did not concur with

   CICCION E'Srequestfora SignificantPublic BenefitParole forPIED RA HITA . N .E.forwarded

   the response to C ICCION E. On or aboutthatsam e day,C ICCION E responded to N .E.,falsely

   statingthat:(1)hehad discussed thematterwithhisDEA counterpart,SpecialAgentD.H.,(2)
   D .H .concurred with the decision to allow PIED RA H ITA to com e to the United States to iiw ork

   asa Cl(confidentialinformantln',and (3)D.H.knew thattheNADDIS record indicating that
   PIEDRAH ITA w asa fugitive waslûm ade in error.''

   50.    On oraboutO ctober21,20l1,asaresultofC ICCION E'Srepeated effortsand the resulting

   m otion ofthe United StatesAttorney'sOffice,U.S.DistrictJudge W illiam M .H oevelerdism issed

   the charges in lndictm ent#93-470 againstl8 defendants,including PIEDRA H ITA .

   51.    O n oraboutOctober25,20l1,C ICC ION E em ailed V ELASCO a copy ofthe Orderof

   D ism issalfrom his personalem ailaddress.

          On oraboutOctober28,2011,CICCION E em ailed HSlSpecialAgentP.H .,the Section

   chiefofthe Law Enforcem entParole Unit,and stated thathe spoke w ith DEA SpecialA gentD .H.

   abouta parole for PIEDRA HITA on two separate occasions. CICCION E falsely told P.H.that

   SpecialA gentD.H.found N AD DIS records forPIEDRAHITA ,butconcluded isthere m usthave

   been asubjectrecord error.'' CICCIONE alsofalselystatedthathecommunicatedwith retired
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 14 of 22




   H SISA E.K.aboutPIEDRA HITA and E.K .told him thatthere w as neverenough evidence and

   he w asneverable to identify PIEDRA HITA and othersin orderto obtain arrestwarrants.

    A llin violation ofTitle l8,United StatesCode,Section 371.


                                 C OU NTS TW O TH RO U GH FIVE
                                       H onestServices Fraud
                       (Title18,United StatesCode,Sections1343,1346,2)
   53.    The allegationscontained in paragraphs 1through 52 ofthislndictm entare re-alleged and

   incorporated by reference asthough fully setforth herein.

   54.    On or about each of the dates listed below , in the Southern D istrict of Florida and

   elsewhere,the defendants,

                         I11CHRISTOPHER V.CICCIONE,Il,
                         I21 JOSE BAYRON PIEDM HITA-CEBALLOS,a/k/a iicacheton,''
                         a/k/a GM ontaneror''
                         I31JUAN CARLOSVELASCO CANO,a/k/at<cabezon,''
   devised and intended to devise a schem e and artificeto defraud and deprive the United Statesand

   itscitizensoftheirrightto the honestservicesofCHRISTO PHER V .CICCION E,II,afederallaw

   enforcem entofficer,through bribery.

          On or about the dates Iisted below, in the Southern D istrict of Florida and elsewhere,

   defendants,aiding and abetting one another,for the purpose of executing the above-described

   scheme and artifice to defraud and deprive,transm itted and caused to be transm itted by m eansof

   w ireand radio com m unication in interstate com m erce,writings'
                                                                   ,thatis,they caused the follow ing

   electronic m ailm essagesto betransm itted via interstate com m erce:




                                                  14
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 15 of 22




        Count           Date                     Electronic M ailTransm ission

                                      E-m ail m essage from I.M . to CICCION E, w hich
        2       Junel6, 20ll          transmittedthejassportbelongingtoPIEDRAHITA
                                      pursuant to lnstructions by V ELASCO            and
                                      CICCION E.

                                      E-m ailm essage from CICCION E to A ssistantUnited
                                      States Attorney F.T., w hich attached the Dism issal
        3       June 21,2011          M em o thatfalsely stated thatnone ofthe defendants
                                      on the D ism issal M em o, including PIEDRA HITA ,
                                      were identified during thecourse ofthe investigation.
                                      E-m ail m essage from CICCION E to H Sl Special
                                      AgentE.E.,whichtransmittedacompletedcoyyofa
                                      DH S SignificantPublic Benefit Parole Authorlzation
        4       June 24,2011          Form forPIEDRAH ITA w ith false statem entsthathe
                                      had idno recordsofcrim inalactivity''and nam e checks
                                      were com pleted in six specific Iaw enforcem ent
                                      databasesforprocessing by E.E.
                                      E-m ail m essage from CICCION E to HSI Special
                                      AgentP.H.,the Section chiefofthe Law Enforcem ent
                                      Parole Unit,w hich stated thatCICCION E spoke with
                                      D EA Special Agent D .H . about a parole for
                                      PIEDRA H ITA on tw o separate occasions.
                                      CICCION E falsely told P.H.thatSpecialA gentD .H .
        5       O                     found N A DD IS records for PIED RAHITA, but
                    ctober28,20l1                uitj
                                      concluded wx musthave been a subjectrecord
                                      error.'' CICCION E also falsely stated that he
                                      com m unicated with retired HSI SpecialA gent E.K .
                                      aboutPIEDRAH ITA and E.K .told him thattherew as
                                      never enough evidence and he w as never able to
                                      identify PIED RA H ITA and others in orderto obtain
                                      arrest w arrants.

   Each counta separate and distinctviolation ofTitle 18,United States Code,Sections 1343 and

    1346.




                                               15
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 16 of 22




                                          C O UNT SIX
                         O bstruction ofthe Due Adm inistration ofJustice
                          (Title18,United StatesCode,Sections1503,2)
   56.    The allegationscontained in paragraphs lthrough 55 ofthislndictm entare re-alleged and

   incorporated by reference asthough fully setforth herein.

   57.    From on oraboutFebruary 8,20l1to on oraboutOctober21,201l,intheSouthern D istrict

   ofFlorida,the defendants,

                         I11CHRISTOPHER V.CICCIONE,II,
                         I21JOSE BAYRON PIEDRAHITA-CEBALLOS,a/k/a iicacheton,''
                         a/k/a GM ontanero,''
                         I31JUAN CARLOSVELASCO CANO,a/k/aédcabezon,''
   aiding and abetting one another,did corruptly intluence,obstruct and im pede and endeavor to

   intluence,obstructandimpedethedueadministrationofjusticeinthecaseofUnitedstatesv.Blas
   Antonio Gonzalez,et.al.,Case No.93-470 in the United States D istrict Courtforthe Southern

   D istrictofFlorida,by using a seriesofm aterially false statem ents,representations,and om issions

   aboutthe investigation to persuade the United StatesA ttorney's O ffice to dism issthe indictm ent

   againstPIED RAHITA,in violation ofTitle l8,U nited StatesCode,Sections l503 and 2.

                             N OTICE OF C RIM INA L FO RFEITURE
                             (Title18,United StatesCode,Section 981)
   58.    The allegations contained in paragraphs lthrough 52 ofthislndictm entare re-alleged and

   incorporated by reference as though fully setforth herein forthe purpose of alleging forfeitures

   pursuanttoTitle18,United StatesCode,Section98l(a)(1)(C)andTitle28,United StatesCode,
   Section 2461.

          PursuanttoTitle 18,United StatesCode,Section 981(a)(1)(C)and Title28,United States
   Code,Section 2461,the defendant,CHRISTO PHER V .CICCION E,lI,upon conviction ofthe

   offense in violation ofTitle l8,United States Code,Section 37l,setforth in Count 1;conviction

                                                  16
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 17 of 22




   oftheoffensets)inviolationofTitle18,UnitedStatesCode,Sections1343,andl346,setforthin
   Counts2,3,4,and 5 the defendants

                         I1lCHRISTOPHER V.CICCIONE,lI,
                         I21JOSE BAYRON PIEDM HITA-CEBALLOS,a/k/a Hcacheton,''
                         a/k/a HM ontanero,''
                         l3IJUAN CARLOS VELASCO CANO,a/lk/açtcabezon,''
   shallforfeitto the United States ofAmerica pursuantto Title l8,United States Code,Section

   98l(a)(l)(C),andTitle28,United StatesCode,Section2461,anyproperty,realorpersonal,which
   constitutesor is derived from proceedstraceable to said violations. The property to be forfeited

    includes,butisnotlim ited to,the follow ing:

          A sum ofm oney,the am ountto be determ ined,in United Statescurrency representing the

   totalamountofproceedstraceable,directly orindirectly,totheoffensets)inviolation ofTitle l8,
   U nited States Code,Sections37l,and 1343 & l346.

   b.     20l1Jeep W rangler,V lN 1.148A 311128L609851.

   60.     Ifany ofthe property described above,asa resultofany actorom ission ofthedefendant:

                  cannotbe located upon the exercise ofdue diligence;

           b.     hasbeen transferred orsold to,ordeposited with,a third party;

                  hasbeenplacedbeyondthejurisdictionofthecourt;
                  hasbeen substantially dim inished in value;or

                  has been comm ingled with other property which cannot be divided w ithout

   difficulty, the U nited States of A m erica shall be entitled to forfeiture of substitute property

   pursuanttoTitle2l,UnitedStatesCode,Section853(p),asincorporated byTitle28,United States
   Code,Section2461(c).AllpursuanttoTitle 18,United StatesCode,Section 981(a)(1)(C)and
   Title 28,United StatesCode,Section 2461.
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 18 of 22




                                ATRUEBI
                                 w    X
                                     +J *   *
                                                                    '-
                                                                        f #,
                                /oREPERsox                          DA T

                                AN NA LO U TIRO L
                                Acting Chief,Public lntegrity Section
                                Crim inalD ivision
                                U .S.D epartm entofJustice


                          By:          V
                                 uke Cass
                                TrialAttorney
                                Public lntegrity Section
                                Crim inalD ivision
                                U .S.Departm entofJustice
                                     y.'
                          By:
                                     iferA .Clarke
                                   ialAttorney
                                Public lntegrity Section
                                Crim inalDivision
                                U .S.Departm entofJustice




                                            18
                           UNITED1 STA
Case 1:17-cr-20651-RNS Document        TES D ISTR
                                    Entered       ICT CODocket
                                              on FLSD   UR T 09/22/2017 Page 19 of 22
                                      SO UTHERN DISTR ICT O F FLO R ID A

UN ITED STATES O F A M ERICA                   CA SE NO .


I1lCHRISTOPHER VUCICCIONE,11
l21JOSE BAYRON PIEDRHITA-CEBALLOS
l3lJUAN CARLOSVELASCO CANO
                                               C ERTIFICA TE O F TR IA L ATTO RN EY.
                         Defendant.
                                        /      Superseding Case lnform ation:


CourtDivision'
             .(selectone)                      New Defendantts)                 Yes   X       No
                                               NumberofNew Defendants                 3
 X     M iami             Key W est            Totalnum berofcounts                   F----
       FTL                W PB      FTP
       Ido hereby certify that:
                lhave carefully considered the allegationsofthe indictment,thenumberofdefendants,thenum ber
                ofprobablewitnessesand the legalcomplexitiesofthe Indictm ent/lnformation attached hereto.
                lam awarethattheinformationsuppliedonthisstajementwillberelieduponbytheJudgesofthis
                Courtin setting theircalendarsand scheduling crim lnaltrialsunderthe mandate ofthe Speedy Trial
                Act,Title 28 U.S.C.Section 3l6l.
                Iqterpreter:     (YesqrNo)      Y
                Llstlanguageand/ordlalect           spanish
                Thiscase willtake      5       daysforthe partiesto try.
                Please check appropriate category and typeofoffense listed below :
                (Checkonlyone)                                 (Checkonlyone)
       I        0 to 5 days                                    Petty
       11       6 to 10 days                                   M inor
       llI      1l to 20 days                                  M isdem .
       IV       21to 60 days                                   Felony                 x
       V        61daysand over
       6.       Hasthiscasebeenpreviously filed inthisDistrictCourt? (YesorNo)         no
       lfyes:
       Judge:                                           CaseNo.
       (Attachcopypfdispositiveprder)
       Hasacomplalntbeenfiled ln thismatter?            (YesorNo)        No
       lfyes:
       M agistrate CaseNo.
       Related M iscçllaneousnumbers:
       Defendantts)ln federalcustodyasof
       Defendantts)ln statecpstody asof
       Rule 20 from the Distrlctof
       lsthisapotentialdeathpenaltycase?(YesorNo)                No

                Dpesthiscaseoriginatefrom amatterpending in theNorthernRegion oftheU.S.Attorney'sOffice
                prlorto Octoberl4,2003?        Yes                       No     x


                                                             f. .-
                                                       Lu e cass
                                                      court1.D .No.A5502202
                                                      JenniferA .Clarke
                                                        CqurtI.D.No.A5502203
                                                        TrlalAttonleys,U.S.Departm entofJustice
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 20 of 22



                            U N ITED STAT ES D ISTR IC T CO UR T
                            SO UTH ERN D ISTR IC T O F FLO R ID A

                                      PEN A LTY SH EET

  Defendant'sNam e:      ChristopherV .Ciccione.11.
                                                  ,JoseBayron Piedrahita Ceballoss
                                                                                 'Juan
  Carlos Velasco Cano

  C ase N o:


  C ount1

   Conspiracy to com m itwirefraud and obstruction ofiustice

     18U.S.C.j371
  M ax.Penalty:Five yearsimprisonm ent;threeyearssupervised release'
                                                                   ,$250,000 fine,$100
  SpecialA ssessm ent


  C ounts2 throuah 5

    H onestServices W ire Fraud

     18 U.S.C.411343and 1346

  M ax.Penalty:Twenty yearsimprisonm ent;threeyearssupervised release;$250,000 tine,$100
  SpecialA ssessm ent



  Count6

    Obstruction oftheDueAdm inistration ofJustice

     18 U.S.C.$1503

  M ax.Penalty: Ten yearsim prisonment'
                                      .threeyearssupelwisedrelease'
                                                                  .$250.000 finem
                                                                                '$100
  SpecialA ssessm ent
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 21 of 22




                            U N ITED STA TES D ISTR ICT C O U RT
                            SO U TH ER N D ISTR ICT O F FLO R IDA

                                       PEN A LTY SHEET

  D efendant's N am e:   ChristopherV .Ciccione,lls
                                                  'Jose Bayron Piedrahita Ceballos'
                                                                                  .Juan
  CarlosV elasco Cano

  Case N o:


  Count 1

   Conspiracy to com mitwirefraud and obstruction ofiustice

    18U .S.C.4371

  M ax.Penalty:Fiveyearsimprisonm ent'
                                     ,three yearssupervised release'
                                                                   ,$250,000 fine,$100
  SpecialA ssessm ent


  Counts 2 throuzh 5



    18U.S.C.911343and 1346
  M ax.Penalty:Twenty yearsim prisomnent;three yearssupervised release;$250,000 fine,$100
  SpecialA ssessm ent



  C ount6

   Obstnzction ofthe D ue Adm inistration of Justice

    18U.S.C.91503

  M ax.Penalty: Ten yearsimprisonment'
                                     .threeyearssupervised releases
                                                                  '$250.000finen
                                                                               '$100
  SpecialA ssessm ent
Case 1:17-cr-20651-RNS Document 1 Entered on FLSD Docket 09/22/2017 Page 22 of 22




                           UN ITED STATE S D ISTR ICT C O IJRT
                           SO U TH ER N D ISTR ICT O F FLO R ID A

                                      PEN A LTY SH EET

  D efendant's N am e:   ChristopherV .Ciccione.11.Jose Bavron Piedrahita Ceballos'
                                                                                  .Juan
  Carlos V elasco Cano

  Case N o:


  Count 1

   Conspiracv to com mitwirefraud and obstruction ofiustice

    18U .S.C.4371

  M ax.Penalty:Fiveyearsimprisonm ent'
                                     ,threeyearssupelwised release;$250,000 tine,$100
  SpecialA ssessm ent


  Counts 2 throuah 5

    H onestServicesW ire Fraud



  M ax.Penalty:Twenty yearsim prisonm ent;three yearssupervised release'
                                                                       ,$250,000 fine,$100
  SpecialA ssessm ent



  C ount6

   Obstnlction ofthe D ue Adm inistraticm ofJustice

    18U.S.C.91503
  M ax.Penalty: Ten yearsimprisonment'
                                     sthreeyearssupervisedrelease'
                                                                 ,$250,000fines
                                                                              '$100
  SpeçialA ssessm ent
